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                        Exhibit J
                       to Declaration of Matthew Hooker
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September 10, 2021

BY ELECTRONIC MAIL AND SECURE FILE TRANSFER

Wendy J. Weinberg
Assistant Attorney General
Office of Consumer Protection
Public Advocacy Division
Office of the Attorney General
400 Sixth Street, NW, 10th Floor
Washington, DC 20001

Linda Singer
Paige Boggs
Motley Rice LLC
401 9th St. NW, Suite 1001
Washington, DC 20004


Re:              Subpoena to OptumRx, Inc. Dated December 28, 2020

Dear Wendy, Linda and Paige:

With this letter and accompanying document, OptumRx, Inc. (hereinafter “Optum,” or “the
Company”) makes its second production in response to the Subpoena dated December 28, 2020, as
clarified by our various telephone calls (the “Subpoena”). Per our discussion with Paige on August
19, 2021, in response to Requests 12 and 14 1/, Optum is producing herein the documents that
Optum previously produced to the Minnesota Attorney General’s Office pursuant to a Civil
Investigative Demand served upon OptumRx, Inc. in 2017. These documents are branded with the
same Bates-numbers as were provided to the Minnesota Attorney General’s Office: Optum-MNAG-
0000000001 - Optum-MNAG-0000068310.

                                                                          *            *             *

The enclosed documents contain or constitute confidential business information, records, and/or
trade secrets of Optum and are being produced in reliance on Paige’s email of September 2, 2021,
memorializing our discussion of earlier that day, that “the District will treat the documents previously

1/           Please note that certain documents may be responsive to more than one Request.


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                                                                                  September 10, 2021


produced to Minnesota as confidential pursuant to the District’s [July 1, 20201] confidentiality
agreement with OptumRx even if the confidentiality designations [on the production images] are
worded slightly differently (e.g., ‘confidential’ vs. ‘high confidential’).”

The submission of the enclosed materials does not waive, nor is it intended to waive, any rights,
privileges, or immunities of Optum with respect to this matter, including any applicable attorney-client
privilege, protection provided under the work-product doctrine, or other privilege or immunity that
may exist. In the event of any inadvertent production of privileged materials, Optum requests that
the government refrain from reviewing such materials and return the same promptly to Optum.
Moreover, to the extent that non-responsive documents, pages, or information have been produced
inadvertently, Optum does not agree to any expansion of the scope of your request. Optum
expressly reserves any applicable privileges and immunities to which it is entitled under the law.

Please call me if you have any questions about any aspect of this letter or the enclosed documents.


Sincerely,

/s/   Michelle A. Kisloff

Michelle A. Kisloff
Partner
Michelle.kisloff@hoganlovells.com
D 202-637-6631

cc:      Allison J. Caplis




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